       Case 2:10-md-02179-CJB-DPC Document 6216-2 Filed 04/11/12 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUSIANA
_____________________________________________________
                                                      )
IN RE: OIL SPILL BY THE OIL RIG DEEPWATER             )
HORIZON IN THE GULF OF MEXICO, ON APRIL 20, 2010      ) MDL No. 2179
                                                      )
IN RE THE COMPLAINT AND PETITION OF                   ) Section: J
TRITON ASSET LEASING GmbH, ET AL., IN A               )
CAUSE OF EXONERATION FROM OR                          ) Judge: Barbier
LIMITATION OF LIABILITY                               )
                                                      ) Magistrate: Shushan
This Document Relates To:                             )
2:10-CV-02771                                         )
_____________________________________________________ )


                                                ORDER

       CONSIDERING the plaintiffs’ Motion To Regulate Direct Communications With Private Party,

Short-Form Claimants,

       IT IS ORDERED that 1) the Transition Coordinator and Claims Administrator, all parties and

their counsel, and members of the Plaintiff Steering Committee either communicate with private

plaintiffs through their counsel of record as identified in the most recent short form filed in MDL2179 or

provide a copy of each communication to counsel of record; and, 2) that the Claims Administrator

provide a claimant's counsel of record with a means to obtain an electronic copy of all Materials a

GCCF claimant previously provided to the GCCF.

       New Orleans, Louisiana, this the 9'th day of April, 2012.


                                                     ______________________________
                                                           Honorable Carl J. Barbier
                                                           United States District Judge
